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                 Exhibit 1
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   ( 12 ) Lee
          United      States Patent                                               ( 10) Patent No .:              US 10,860,506 B2
              et al .                                                             (45 ) Date of Patent :                      * Dec . 8 , 2020
   ( 54) MEMORY MODULE WITH                                                  ( 56 )                     References Cited
            TIMING- CONTROLLED DATA BUFFERING
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   ( 71 ) Applicant: Netlist, Inc. , Irvine, CA (US )                                 4,368,515 A        1/1983 Nielsen
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   ( 72 ) Inventors : Hyun Lee , Ladera Ranch, CA (US ) ;                                                  (Continued )
                      Jayesh R. Bhakta , Cerritos, CA (US )
   ( 73 ) Assignee: NETLIST, INC . , Irvine , CA (US )                                      FOREIGN PATENT DOCUMENTS
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   ( * ) Notice:         Subject to any disclaimer, the term of this         JP                  10-092169          4/1998
                         patent is extended or adjusted under 35                                           (Continued )
                         U.S.C. 154 ( b ) by 0 days.
                         This patent is subject to a terminal dis                                 OTHER PUBLICATIONS
                         claimer .
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   ( 21 ) Appl. No .: 16 /391,151                                            11 pgs.
                                                                                                           (Continued )
   (22 ) Filed :      Apr. 22 , 2019
                                                                             Primary Examiner Michael Sun
   ( 65 )               Prior Publication Data                               ( 74 ) Attorney, Agent, or Firm Morgan , Lewis &
                                                                             Bockius LLP
            US 2019/0347220 A1 Nov. 14 , 2019
                                                                             ( 57 )                       ABSTRACT
                Related U.S. Application Data                                A memory module is operable in a memory system with a
   ( 63 ) Continuation of application No. 15 / 820,076 , filed on            memory controller. The memory module comprises memory
            Nov. 21 , 2017 , now Pat. No. 10,268,608 , which is a            devices, a module control circuit , and a plurality of buffer
                               ( Continued )                                 circuits coupled between respective sets of data signal lines
                                                                             in a data bus and respective sets of the memory devices.
   ( 51 ) Int. Ci.                                                           Each respective buffer circuit is mounted on the module
            GO6F 3/00                     ( 2006.01 )                        board and coupled between a respective set of data signal
            G06F 12/00                    ( 2006.01 )                        lines and a respective set of memory devices. Each respec
                               ( Continued )                                 tive buffer circuit is configured to receive the module control
   ( 52 ) U.S. CI .                                                          signals and the module clock signal, and to buffer a respec
          CPC               G06F 13/1673 ( 2013.01 ) ; G06F 1/10             tive set of data signals in response to the module control
                             ( 2013.01 ) ; G06F 3/0613 ( 2013.01 ) ;         signals and the module clock signal . Each respective buffer
                                                                             circuit includes a delay circuit configured to delay the
                              ( Continued )                                  respective set of data signals by an amount determined based
   ( 58 ) Field of Classification Search                                     on at least one of the module control signals.
            None
            See application file for complete search history .                             20 Claims , 26 Drawing Sheets
                                                                                                                   100
                                                                                                                             119
                                                                       110            112         114
                   101                    105              118
                                                130
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                         MCH          1




                                           120                                    116
                                                                                             Module Control



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                                              912                                                      914
                  1 20



                                :                                                                                            :




    1 72                            1 72                    1 72                 1 74              1 72        1 72          1 72
                                                                                                                             :




           MCSm                            MCS2                    MCS1                                        CK1     CK2                     CKm
                                                    .
                                                    1102                                                                         1106.
                  1 02                                                    1 02                          1106
                                                                                                        .      .
                                                                                                               1106


                         10 0                                                           MCS       CK
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Case2:22-cv-00203-JRG-RSP
     2:22-cv-00203-JRG-RSP Document
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                                                         ToCPormcesanidg
                                  930          932 7




                                                                                                         11B
                                                                                                         .
                                                                                                         FIG
               920                      MCSI                               ???

                                                  1072                                      912
                           1071
         914

                     918
                                                                                      916
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Case2:22-cv-00203-JRG-RSP
     2:22-cv-00203-JRG-RSP Document
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      t4                                           DOS1


                                                          EWD
      '
      t3
                                         MCS
      t3                          MCS                           W.L.   FIG
                                                                       12A
                                                                       .


      t2                 MCS                              CED




                 C
                 /
                 W
      t1
Case
Case2:22-cv-00203-JRG-RSP
     2:22-cv-00203-JRG-RSP Document
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      t9                                                DOS

      t8
                                              Delay      soa
                                                               ERD
      t7
      '                                        EN


      t7                               EN
                                                                     R.L.   12B
                                                                            .
                                                                            FIG


      t6                    EN                                 CED




                 C
                 /
                 R
      t5
Case
Case2:22-cv-00203-JRG-RSP
     2:22-cv-00203-JRG-RSP Document
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            650                                              DS




                           13 0               Stop                Start

                                                                                  13
                                                                                  FIG
                                                                                  .

                  1320                               EN ??




                  1310 Pr eamb l D et c o r
                                  DQS
Case
Case2:22-cv-00203-JRG-RSP
     2:22-cv-00203-JRG-RSP Document
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                                             YlYoas
                                      1402
                                                                                          320/6
          1430                                        1450
                          PWartihse                   ENB
                                                      /
                                                      ENA                      PRaethds           ENB
                                                                                                  /
                                                                                                  ENA



                                                                                                               .
                                                                                                               FIG
                                                                                                               14
                                                                                                  DS
                                                       1460
            1420                                       1470

                   1410
                                                              1480
                                             1401
                                                       DQS
                                                       /
                                                       DO
                                                              7
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Case2:22-cv-00203-JRG-RSP
     2:22-cv-00203-JRG-RSP Document
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                          YADOS                              Y
                                                             Boas

                                                                           620
                  1502A                     1502B
                                                                                     ENA
                 1530A                                                               ENB
                                                                 1530B
                                                                                                    15
                                                                                                    .
                                                                                                    FIG
                                           15650                                       DS


        WDOS                               1570
               1520                                                                         ???

        RDOS 1510
                                                    1580
                                  1501
                                            DOS     /
                                                           324
Case 2:22-cv-00203-JRG-RSP Document 5-1
                                    1-1 Filed 06/13/22
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                       YA                                YB


                                                                   320
               1602A   ?
                                          1602B
                                                                                     ENA
              1630A                                                                  ENB
                                                          1630B
                                                                                     ENB
                                                                                     /
                                                                                     ENA

                                         16 50                                     DSCKO
                                                                                                 16
                                                                                                 FIG
                                                                                                 .
              1620
                                         1670
                                                                                      RDOS

              1610                                                                   WDOS
                                                1680
                            1601
                                    DQ   7
                                                   322
Case 2:22-cv-00203-JRG-RSP Document 5-1
                                    1-1 Filed 06/13/22
                                              06/10/22 Page 30 of 44 PageID #: 564
                                                                               101


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                  1F5r0/o16m50
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                                                                                                         .
                                                                                                         FIG

                                                                                              DS
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                                               1750
          1560/
                                                      To1570/1670
Case 2:22-cv-00203-JRG-RSP Document 5-1
                                    1-1 Filed 06/13/22
                                              06/10/22 Page 31 of 44 PageID #: 565
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                                                                                                                                                                                               FIG
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    310


                            330                                                                    ...       DBCS(MCS)oimgnanlds
                                          D-

                                                       640PCrocmesaindg
                                                 650                                                                               19
                                                                                                                                   .
                                                                                                                                   FIG
                    620   Y.DOS
                                                                                    630


           WRDQOS
                                                                      DS

     CKO                                                                                                    ??
                          DQS
                                  324          CKM                                          610
                                                                           1920
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                                                                               104


                                                         US 10,860,506 B2
                                   1                                                                    2
                  MEMORY MODULE WITH                                          The memory capacity or memory density of a memory
       TIMING-CONTROLLED DATA BUFFERING                                    module increases with the number of memory devices on the
                                                                           memory module. The number of memory devices of a
                      CLAIM OF PRIORITY                                   memory module can be increased by increasing the number
                                                                        5 of memory devices per rank or by increasing the number of
      The present application is a continuation of U.S. patent ranks.
   application Ser. No. 15 / 820,076 , filed Nov. 21 , 2017 , which      In certain conventional memory modules , the ranks are
   is a continuation of U.S. patent application Ser. No. 15/426 , selected or activated by control signals from a processor or
   064 , filed Feb. 7 , 2017 (U.S. Pat . No. 9,824,035 ) , which is 10 memory controller during operation. Examples of such
   a continuation of U.S. patent application Ser. No. 14/846 , control signals include , but are not limited to , rank - select
   993 , filed Sep. 7 , 2015 (U.S. Pat . No. 9,563,587 ) , which is signals, also called chip - select signals. Most computer and
   a continuation of U.S. patent application Ser. No. 13/952 , server systems support a limited number of ranks per
   599 , filed Jul. 27 , 2013 , (U.S. Pat . No. 9,128,632 ) , which        memory module , which limits the memory density of the
   claims priority to U.S. Provisional Pat . Appl. No. 61/676 , 15 memory modules that can be used in these computer and
   883 , filed on Jul . 27 , 2012. Each of the above applicationsserver systems .
   is incorporated herein by reference in its entirety.             For memory devices in such as a memory module to be
                                                                 properly accessed , distribution of control signals and a
             CROSS REFERENCE TO RELATED                          control clock signal in the memory module is subject to strict
                        APPLICATIONS                          20 constraints . In some conventional memory modules, control
                                                                 wires are routed so there is an equal length to each memory
     The present application is related to commonly -owned component, in order to eliminate variation of the timing of
   U.S. patent application Ser. No. 14 /715,486 , filed on May the control signals and the control clock signal between
   18 , 2015 ; U.S. patent application Ser . No. 13 / 970,606 , filed      different memory devices in the memory modules. The
   on Aug. 20 , 2013 , now U.S. Pat . No. 9,606,907; U.S. patent 25 balancing of the length of the wires to each memory devices
   application Ser. No. 12 / 504,131 , filed on Jul . 16 , 2009 , now      compromises system performance, limits the number of
   U.S. Pat. No. 8,417,870 ; U.S. patent application Ser. No.              memory devices, and complicates their connections.
   12 /761,179 , filed on Apr. 15 , 2010 , now U.S. Pat . No.                 In some conventional memory systems , the memory
   8,516,185 ; U.S. patent application Ser. No. 13 / 287,042 , filed       controllers include leveling mechanisms for write and /or
   on Nov. 1 , 2011, now U.S. Pat . No. 8,756,364 ; and U.S. 30 read operations to compensate for unbalanced wire lengths
   patent application Ser. No. 13 / 287,081 , filed on Nov. 1 ,
   2011 , now U.S. Pat . No. 8,516,188 ; each of which is
                                                                and memory device loading on the memory module . As
   incorporated herein by reference in its entirety.
                                                                           memory operating speed and memory density continue to
                                                                           increase, however, such leveling mechanisms are also insuf
                                FIELD                                   35 ficient to insure proper timing of the control and / or data
                                                                           signals received and / or transmitted by the memory modules.
     The disclosure herein is related generally to memory                          BRIEF DESCRIPTION OF THE DRAWINGS
   modules , and more particularly to multi - rank memory mod
   ules and methods of operation.                                            FIG . 1 is a diagram illustrating a memory system includ
                                                              40
                          BACKGROUND                                       ing at least one memory module according to one embodi
                                                                           ment.
      With recent advancement of information technology and               FIGS . 2A - 2D are each a diagrams illustrating interactions
   widespread use of the Internet to store and process infor- among components in a a memory module according to
   mation , more and more demands are placed on the acqui- 45 certain embodiments.
   sition, processing , storage and dissemination of vocal, pic-          FIG . 3 is a diagram illustrating one of a plurality of data
   torial , textual and numerical information by buffers in a memory module according to one embodiment.
   microelectronics -based combination of computing and com-              FIGS . 4A - 4B are each a diagram illustrating data and data
   munication means . In a typical computer or server system , strobe signal lines coupled to memory devices in a memory
   memory modules are used to store data or information . A 50 module according to certain embodiments.
   memory module usually includes multiple memory devices,                FIGS . 5A - 5B are diagrams illustrating different numbers
   such as dynamic random access memory devices (DRAM ) ofmemory devices that can be coupled to each data buffer
   or synchronous dynamic random access memory devices in a memory module according to certain embodiments.
   (SDRAM ), packaged individually or in groups, and / or                 FIG . 6 is a diagram illustrating a control circuit in a data
   mounted on a printed circuit board ( PCB ) . A processor or a 55 buffer according to certain embodiments.
   memory controller accesses the memory module via a                     FIG . 7 is a diagram illustrating control signals from a
   memory bus , which, for a single - in - line memory module module control device to a plurality of data buffers in a
   ( SIMM) , can have a 32 - bit wide data path , or for a dual- in- memory module according to certain embodiments.
   line memory module (DIMM) , can have a 64 -bit wide data               FIG . 8 is a timing diagram illustrating alignment of
   path .                                                           60 module control signals with respect to module clock signals.
      The memory devices of a memory module are generally                 FIG . 9 is a diagram illustrating a metastability detection
   organized in ranks, with each rank of memory devices circuit and signal adjustment circuit in a data buffer accord
   generally having a bit width . For example, a memory ing to certain embodiments.
   module in which each rank of the memory module is 64 bits              FIGS . 10A - 10C are diagrams illustrating a metastability
   wide is described as having an “ x64 ” or “ by 64 ” organiza- 65 detection circuit according to certain embodiments .
   tion . Similarly, a memory module having 72 -bit -wide ranks           FIG . 10D is a diagram illustrating a signal adjustment
   is described as having an “ x72” or “ by 72” organization.          circuit according to certain embodiments .
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       FIGS . 11A - 11B are diagrams illustrating a metastability module can have more ranks of memory devices than what
   detection circuit and signal adjustment circuit, respectively,        is supported by the memory controller.
   according to certain embodiments .                                       In one embodiment, each buffer circuit includes metasta
       FIGS . 12A - 12B are a timing diagrams illustrating a write bility detection circuits to detect metastability condition in
   operation and a read operation, respectively, performed by a 5 the module control signals and signal adjustment circuits to
   memory module according to one embodiment.                            adjust the module control signals and /or a module clock
       FIG . 13 is a diagram illustrating a delay control circuit in signal to mitigate any metastability condition in the module
   a data buffer according to certain embodiments .                      control signals.
       FIG . 14 is a diagram illustrating a DQ or DQS routing               Further, in one embodiment, each buffer circuit includes
   circuit in a data buffer according to an embodiment.               10 signal alignment circuits that determine, during a write
       FIG . 15 a diagram illustrating a DRS routing circuit operation , a time interval between a time when one or more
   having a delay circuit in a data buffer according to an module control signals are received from the module control
   embodiment.                                                           circuit and a time when a strobe or data signal is received
       FIG . 16 a diagram illustrating a DQ routing circuit having from the memory controller. This time interval is used
   a delay circuit in a data buffer according to an embodiment. 15 during a subsequent read operation to time transmission of
       FIG . 17 is a diagram illustrating a delay circuit in a DQ read data to the memory controller, such that the read data
   or DQS routing circuit according to an embodiment .                   arrives at the memory controller within a time limit in
      FIG . 18 is a flowchart illustrating a method for data edge accordance with a read latency parameter associated with
   alignment according to embodiments .                                  the memory system .
       FIG . 19 is a diagram illustrating a control circuit in a data 20 FIG . 1 shows a system 100 including a memory controller
   buffer according to certain embodiments.                              (MCH ) 101 and one or more memory modules 110 coupled
                                                                         to the MCH by a memory bus 105 , according to one
               DESCRIPTION OF EMBODIMENTS                                embodiment. As shown, the memory bus includes CIA
                                                                         signal lines 120 and groups of system data / strobe signal
       A memory module according to one embodiment includes 25 lines 130. Also as shown, each memory module 110 has a
   memory devices organized in groups, a module control plurality of memory devices 112 organized in a plurality of
   device , and data buffers ( DB ) . The data buffers are some- ranks 114. Each memory module 110 further includes a
   times referred to herein as buffer circuits, isolation devices module control circuit (module controller or module control
   ( I.D. ) or load reduction devices. The memory module is device) 116 coupled to the MCH 101 via the C / A signal lines
   operable to perform memory operations in response to 30 120 , and a plurality of buffer circuits or isolation devices 118
   memory commands ( e.g. , read , write , refresh , precharge ,       coupled to the MCH 101 via respective groups of system
   etc. ) , each ofwhich is represented by a set of control/ address   data / strobe signal lines 130. In one embodiment, the
   ( C / A ) signals transmitted by the memory controller to the memory devices 112 , the module control circuit 116 and the
   memory module. The C / A signals may include , for example, isolation devices 118 can be mounted on a same side or
   a row address strobe signal ( RAS ), a column address strobe 35 different sides of a printed circuit board (module board ) 119 .
   signal (ICAS ) , a write enable signal (/WE) , an output enable    In the context of the present description , a rank refers to
   signal ( OE ), one or more chip select signals, row/column a set of memory devices that are selectable by a same chip
   address signals, and bank address signals . The memory select signal from the memory controller. The number of
   controller may also transmit a system clock signal to the ranks of memory devices in a memory module 110 may
   memory module . In one embodiment, the C/A signals and 40 vary. For example , as shown, each memory module 110 may
   the system clock signal are received by the module control include four ranks of memory devices 112. In another
   device , which generates a set of module command signals embodiment, the memory module 110 may include 2 ranks
   and a set of module control signals in response to each of memory devices. In yet another embodiment, the memory
   memory command from the memory controller. The module module may include six or more ranks of memory devices
   command signals are transmitted by the module control 45 112 .
   device to the memory devices via module C / A signal lines ,         In the context of the present description, a memory
   and the module control signals ( referred sometimes herein as controller refers to any device capable of sending instruc
   module control signals ) are transmitted by the module tions or commands, or otherwise controlling the memory
   control device to the buffer circuits via module control signal devices 112. Additionally, in the context of the present
   lines .                                                         50 description, a memory bus refers to any component, con
      The buffer circuits are associated with respective groups nection , or groups of components and / or connections, used
   of memory devices and are distributed across the memory to provide electrical communication between a memory
   module at positions corresponding to the respective groups module and a memory controller. For example, in various
   of memory devices. Thus, during certain high speed opera- embodiments , the memory bus 105 may include printed
   tions , each module control signal may arrive at different 55 circuit board (PCB ) transmission lines , module connectors ,
   buffer circuits at different points of time across more than component packages , sockets, and /or any othercomponents
   one clock cycle of the system clock . Also , each buffer circuit or connections that provide connections for signal transmis
   associated with a respective group of memory devices is in sion .
   the data paths between the respective group of memory                Furthermore , the memory devices 112 may include any
   devices and the memory controller. Thus, the memory 60 type of memory devices . For example , in one embodiment,
   controller does not have direct control of the memory the memory devices 112 may include dynamic random
   devices. In one embodiment, each group of memory devices access memory ( DRAM) devices . Additionally, in one
   include at least two subgroups , each subgroup including at embodiment, each memory module 110 may include a dual
   least one memory device . Each buffer circuit is configured in - line memory module (DIMM) .
   to select a subgroup in the respective group of memory 65 Referring to FIG . 2A , which illustrates one memory
   devices to communicate data with the memory controller in module 110 according to an embodiment, the module con
   response to the module control signals . Thus , the memory trol device 116 receives system memory commands repre
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   sented by a set of system control/ address (C/A) signals from            module CIA signal lines 220 , and at least some of the
   the MCH 101 via signal lines 120 and generates module                    isolation devices 118 share a same set of module control
   command signals and module control signals based on                      signal lines 230 .
   memory commands from the system . The module control                        As shown n FIGS . 2A and 2B , each rank 114 includes N
   device 116 also received a system clock MCK and generates 5 memory devices, where N is an integer larger than one . For
   a module clock signal CK in response to the system clock example , a first rank includes memory devices M11 , ...
   signal MCK . The MCK signal may include a pair of Mi1, Mi'i + 1,1 )              My, a second rank includes memory
   complementary clock signals , MCK and MCK , and the devices        Mi          M¡2, Mi+1,27 • , MN,2, and so on . In one
                                                                                        12 , ... ,

   module clock signal may include a pair of complementary 10 embodiment   , the memory devices 112 are also organized in
                                                               groups or sets, with each group corresponding to a respec
   clock signals CK and CK .
      Examples of the system C / A signals include, but are not tive        ing
                                                                                  group of system data / strobe signal lines 130 and includ
                                                                                  at least one memory device from each rank . For
   limited to , Chip Select (or (CS ) signal, which is used to example                  , memory devices M11 , M12 , M13 , and M14 form a
   select a rank of memory devices to be accessed during a first group                      of memory devices , memory devices M.1 , M.2 ,
   memory     ( read or write )  operation  ; Row   Address  Strobe
   /RAS ) signal , which is used mostly to latch a row address on .
                                                                     (or 15 Mig , and    M  ;4 form an ith group of memory devices, and so
   and to initiate a memory cycle ; Column Address Strove (or                  As shown, the isolation devices 118 are associated with
   ICAS ) signal , which is used mostly to latch a column respective groups of memory devices and are coupled
   address and to initiate a read or write operation; address between respective groups of system data / strobe signal lines
   signals, including bank address signals and row / column 20 130 and the respective groups of memory devices. For
   address signals , which are used to select a memory location example , isolation device ID - 1 among the isolation devices
   on a memory device or chip ; Write Enable (or /WE ) signal, 118 is associated with the first group of memory devices
   which is used to specify a read operation or a write opera- M11 , M12 , M13 , and M14 and is coupled between the group
   tion, Output Enable (or /OE ) signal, which is used to prevent of system data / strobe signal lines 130-1 and the first group
   data from appearing at the output until needed during a read 25 of memory devices , isolation devices ID -i among the isola
   operation, and the system clock signal MCK .                             tion devices 118 is associated with the ith group of memory
      Examples of module command signals include, but are group             devices M ; 1 , M, 2 , Mi3 , and M;4 and is coupled between the
   not limited to module / CS signals , which can be derived from group of            of system data / strobe signal lines 130 - i and the ith
   the system /CS signals and one or more other system C / A 30                           memory devices , and so on .
   signals, such as one or more bank address signals and / or one areIncoupled     one embodiment, each group or sets of memory devices
                                                                                             to the associated isolation device 118 via a set
   or more row / column address signals ; a module /RAS signal, of module data                     / strobe lines 210. Each group or set of
   which can be , for example, a registered version of the system memory
   /RAS signal ; a module CAS signal, which can be , for each subgroup oris organized    devices                  in subgroups or subsets , with
                                                                                                       subset including at least one memory
   example
   module ,address
                a registered
                       signalsversion
                                , which ofcanthebesystem  /CAS , signal
                                                  , for example   regis; 35 device   . The subgroups in a group ofmemory devices may be
   tered versions of some or all of the address signals ; a module ofmoduleto data
                                                                            coupled        the associated isolation device 118 via a same set
                                                                                                / strobe lines 210 (as shown in FIG . 2A) or via
   WE signal , which can be , for example , a registered version respective subsets of module data / strobe lines 210 (as shown
   of the system / WE signal; a module /OE signal, which can in FIG . 2B ) . For example, as shown in FIG . 2B , in the first
   be , for example a registered version of the system (OE 40 group of memory devices, memory devices M11 and / or M13
   signal. In certain embodiments, the module command sig- form a first subgroup, and memory devices M12 and / or M14
   nals may also include the module clock signal CK .                       form a second subgroup ; in the ith group of memory devices ,
      Examples of module control signals include, but are not memory devices M; 1 and / or Miz form a first subgroup, and
   limited to a mode signal ( MODE ) , which specifies a mode memory devices M, 2 and / or M_4 form a second subgroup ;
   of operation (e.g. , test mode or operating mode ) for the 45 and so on . The first subgroup of at least one memory device
   isolation devices 118 ; one or more enable signals , which are in each group of memory devices is coupled to the associ
   used by an isolation device to select one or more subgroups ated isolation device 118 via an associated first subset of
   of memory devices to communicate data with the memory module data / strobe lines YA , and the second subgroup of at
   controller ; and one or more ODT signals , which are used by least one memory device in each group of memory devices
   the isolation devices to set up on - die termination for the 50 is coupled to the associated isolation device via an associ
   data / strobe signals. In one embodiment, the module control ated second subset of module data / strobe lines YB , as
   signals are transmitted to the isolation devices 118 via shown. For example , memory devices M11 and / or M13 form
   respective module control signal lines 230. Alternatively, the the first subgroup are / is coupled to the isolation device ID - 1
   module control signals can be packetized before being via the corresponding first subset of module data / strobe lines
   transmitted to the isolation devices 118 via the module 55 YA - 1 , and memory devices M12 and / or M14 form the second
   control signal lines and decoded / processed at the isolation subgroup are / is coupled to the isolation device ID - 1 via the
   devices .                                                                corresponding second subset of module data / strobe lines
      Module control device 116 transmits the module com-                   YA - 2 .
   mand signals to the memory devices 112 via module C / A                     In one embodiment, the isolation devices 118 are in the
   signal lines 220. The memory devices 112 operate in 60 data paths between the MCH 101 and the memory module
   response to the module command signals to receive write 110 and include data buffers between the MCH 101 and the
   data or output read data as if the module command signals respective groups of memory devices . In one embodiment,
   were from a memory controller. The module control device each isolation device 118 is configured to select a subgroup
   transmits the module control signals together with the mod- in the respective group of memory devices to communicate
   ule clock signal CK to the isolation devices 118 via module 65 data with the MCH 101 in response to the module control
   control signal lines 230. As shown in FIG . 2 , at least some signals , such that the memory module can include more
   of the memory devices in a same rank share a same set of ranks than what is supported by the MCH 101. Further, each
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   isolation devices 118 is configured to isolate unselected received and buffered by the isolation devices before being
   subgroup ( s) of memory devices from the MCH 101 during transmitted to the MCH via the system data / strobe signal
   write operations, so that the MCH sees a load on each data lines 130. Thus, MCH 101 does not directly operate or
   line that is less than a load associated with the respective control the memory devices 112. As far as data / strobe
   group of memory devices . In one embodiment, the MCH 5 signals are concerned, the MCH 101 mainly sees the isola
   sees only a load associated with one memory device on each tion devices 118 , and the system 100 depends on the
   data / strobe signal line during write operations.             isolation devices 118 to properly time the transmission of the
      In one embodiment, the isolation devices 118 are distrib read     data and strobe signals to the MCH 101 .
   uted across the memory module 110 or the module board 119
   in positions corresponding to the respective groups of 10 in - linecertain
                                                                     In        embodiments, the memory module 110 is a dual
                                                                          memory   module (DIMM) and the memory devices
   memory devices . For example , isolation device ID - 1 is are double data rate
   disposed in a first position corresponding to the first group devices ( DRAM ). In( DDR   ) dynamic random access memory
                                                                                         certain embodiments, the control cir
   of memory devices M11 , M12 , M13 , and M14 , and isolation cuit 116 includes a DDR register       , and logic for memory
   device ID - i is disposed in an ith position separate from the
   first position and corresponding to the ith group of memory 15 module
                                                                  space translation between a system memory domain and a
                                                                           level physical memory domain . Such translation
   devices M.1 , M.2 , Mj3 , and M;4 . In one embodiment, the first
   position is between the first group of memory devices and an       may produce address mapping, proper interface timing for
   edge 201 of the module board 119 where connections (not            the control signals to the module level physical memory
   shown) to the data / strobe signal lines 130 are placed, and ith   domain , and a proper interface electrical and logical level for
   position is between the ith group of memory devices and the 20 the control signals to the module level physical memory
   edge 201 of the module board 119. In one embodiment, the domain .
   isolation devices 118 are distributed along the edge 201 of           As shown in FIG . 2C , in certain embodiments, the control
   the memory module 110. In one embodiment, each isolation circuit 116 transmits registered C/A and clock signals to the
   device 118 is a separate integrated circuit device packaged memory devices 112 , and transmits module control signals
   either by itself or together with at least some of the respec- 25 and a registered clock signal (or module clock signal) to the
   tive group of memory devices . In one embodiment, the isolation devices 118 , in a fly -by configuration. As the speed
   module data / strobe signal lines 210 , the module C / A signal of memory operations increase, issues can arise with respect
   lines 220 , and the module control signal lines 230 include to signal alignment for input, output delay variation due
   signal traces formed on and /or in the module board 119 .          process, voltage and temperature ( PVT ) variations, synchro
     As   an option , memory    module  110 may  further include a 30 nization with system memory controller interface, and phase
   serial-presence detect ( SPD ) device 240 , which may include drift accumulation during operation, etc. Electrical interface
   electrically erasable programmable read - only memory (EE calibration drift during operation due to charge build up and
   PROM) for storing data that characterize various attributes timing         interface calibration drift during operation due to
   of the memory module 110. Examples of such data include
   a number of row addresses, a number of column addresses, 35 environment
                                                                         For examplechange
                                                                                      , load can also create
                                                                                              reduction      issues. in the isolation
                                                                                                        mechanism
   a data width of the memory devices, a number of ranks on
   the memory module 110 , a memory density per rank, a devices 118 would provide a single data bus interface to the
   number of memory device on the memory module 110 , and respective set of memory devices , which is hidden from the
   a memory density per memory device, etc. A basic input/ system memory controller 101. Thus, a long sequence of
   output system ( BIOS ) of system 100 can be informed of 40 interface timing training may be required due to limited
   these attributes of the memory module 110 by reading from controllability of the system memory controller 101 over the
   the SPD 240 and can use such data to configure the MCH interface between the memory devices 112 and the associ
   101 properly for maximum reliability and performance.              ated isolation devices 118. Furthermore, interface signal
      In certain embodiments, the SPD 240 and / or the control alignment-drift after the initial training would not be easily
   circuit 116 store module configuration information , such as : 45 detected by the system memory controller 101 , which may
   memory space translation code , memory address mapping cause silent system failure .
   function code , input and output signals timing control infor-        Moreover, clock skew amongst the memory devices 112
   mation for the control circuit 116 , input and output signals and the associated isolation devices 118 due to the distrib
   electrical and logical level control information for the con- uted architecture of the memory module 110 can cause
   trol circuit 116 , etc. In certain embodiments, the SPD 240 50 synchronization issues . As the speed of memory operation
   contains a system view of the module 110 which can be increase, data period can become very close to the signal
   different from an actual physical construction of the module propagation delay time . Thus, such issues cannot simply be
   110. For example, the SPD 240 stores at least one memory addressed by pipelining the data paths, as variation of the
   operation parameter that is different from a corresponding signal propagation time through I /Os becomes a very sig
   memory operation parameter in a system memory controller 55 nificant portion of a data period .
   setting. The SPD 240 may also store at least on data buffer    To address at least some of the above issues , in certain
   operation parameter that is different from a corresponding embodiments , as shown in FIG . 2D , the control circuit 116
   parameter in the system memory controller setting .         transmits registered C/A signals to the memory devices 112 ,
      Thus, in certain embodiment, in the memory module 110 , and transmits the module control signals and the module
   C / A signals representing a memory command are received 60 clock signal to the data buffers 118 , in a fly -by arrangement.
   and buffered by the module control circuit 116 , so that the The memory devices 112 do not receive the module clock
   MCH sees only the module control circuit 116 as far as the signal from the control circuit 116. Instead , each data buffer
   C / A signals are concerned . Write data and strobe signals 118 regenerates the clock that is used by the respective set
   from the controller are received and buffered by the isolation of memory devices 112. Each Data buffer 118 is thus
   devices 118 before being transmitted to the memory devices 65 responsible for providing a correct data timing interface
   112 by the isolation devices 118. On the other hand, read between the respective set of memory devices 112 and the
   data and strobe signals from the memory devices are system memory controller 101. Each data buffer 118 is also
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   responsible for providing the correct control signal timing to 1600 MHz , a module control signal would travel less than
   between the control circuit 116 and the respective set of 8 cm during one clock cycle . Thus, a module control signal
   memory devices 112 .                                             line can have multiple module control signals on the line at
      Thus, the memory module 110 in FIG . 2D allows a locally the same time , i.e. , before one module control signal reaches
   synchronized operation for each respective set of memory an end of the signal line , another module control signal
   devices 112 , which can correspond to a nibble or a byte of appear on the signal line .
   a DDR data bus between the memory module 110 and the                With the isolation devices 118 receiving module control
   system memory controller 101. Also , signal interface signals at different times across more than one clock cycle ,
   between each data buffer 118 and the respective set of the module control signals alone are not sufficient to time the
   memory devices 112 can be synchronized . In one embodi- 10 transmission of read data signals to the MCH 101 from the
   ment, each data buffer 118 has a set of configurable opera- isolation devices 118. In one embodiment, each isolation
   tions , including, for example : programmable phase relation- devices includes signal alignment circuits that determine,
   ship between the clock it receives and the clock it during a write operation , a time interval between a time
   regenerates, programmable phase adjustment for the data when one or more module control signals are received from
   and data - strobe signals coupled to the memory devices 112 , 15 the module control circuit 116 and a time when a write
   programmable phase adjustment for the data and data - strobe strobe or write data signal is received from the MCH 101 .
   signals coupled to the system memory controller 101 , pro- This time interval is used during a subsequent read operation
   grammable phase adjustment related to at least one control to time the transmission of read data to the MCH 101 , such
   signal that is coupled to the control circuit 116. The locally that the read data follows a read command by a read latency
   synchronized operation also makes it easier for each data 20 value associated with the system 100 , as explained in more
   buffer 118 to perform self- testing of the associated set of detail below .
   memory devices 112 , independent of the self- testing of other      More illustrative information will now be set forth regard
   sets of memory devices performed by the other data buffers, ing various optional configurations, architectures, and fea
   as disclosed in commonly -owned U.S. Pat . No. 8,001,434 , tures with which the foregoing framework may or may not
   entitled “ Memory Board with Self - Testing Capability,” 25 be implemented, per the desires of the user. It should be
   which is incorporated herein by reference in its entirety.        strongly noted that the following information is set forth for
      In certain embodiments, operations of the isolation illustrative purposes and should not be construed as limiting
   devices 118 are controlled by the module control signals in any manner . Any of the following features may be
   from the module control circuit 116 , which generates the optionally incorporated with or without the exclusion of
   module control signals according to the C / A signals received 30 other features described .
   from the MCH . Thus, the module control signals need to be          In one embodiment, as shown in FIG . 3 , each group of
   properly received by the isolation devices 118 to insure their signal lines 130 include a set of n data ( DQ ) signal lines 322
   proper operation . In one embodiment, the module control each for transmitting one of a set of data signals DQo ,
   signals are transmitted together with the module clock signal DQ1 , ... , DQ n -1, and at least one strobe ( DQS ) signal line
   CK , which is also generated by the module control circuit 35 324 for transmitting at least one strobe signal DQS . Each set
   116 based on the system clock signal MCK . The isolation of module data / strobe lines Y include a set of n module data
   circuits 118 buffers the module clock signal, which is used signal lines Y ,Y1 , ... , Yn -1 and at least one module strobe
   to time the sampling of the module control signals . Since the signal line Y pos. When the subsets of memory devices are
   isolation devices 118 are distributed across the memory coupled to the associated isolation device 118 via respective
   module, the module control signal lines 230 can stretch 40 subsets of memory devices, each set of module data / strobe
   across the memory module 110 , over a distance of several lines Y may include multiple subsets of module data / strobe
   centimeters. As the module control signals travel over such lines, such as the subsets of module data / strobe lines YA and
   a distance, they can become misaligned with the module              YB shown in FIG . 2B . Each subset of module data / strobe
   clock signal, resulting in metastability in the received mod- lines YA include a set of n first module data lines YAO,
   ule control signals . Therefore, in one embodiment, the 45 YA1, ... , YA , and at least one first module strobe signal line
   isolation circuits 118 includes metastability detection cir- YADQs; and each subset of module data / strobe lines YB
   cuits to detect metastability condition in the module control include a set of n second module data lines YB . ,
   signals and signal adjustment circuits to adjust the module YB1 , ... , YB , and at least one second module strobe signal
   control signals and / or the module clock signal to mitigate line YB DOS
   any metastability condition in the module control signals, as 50 Each isolation device 118 includes a set of DQ routing
   explained in further detail below .                             circuits 320 coupled on one side to respective ones of the set
      Because the isolation devices 118 are distributed across of n DQ signal lines 322 , and on another side to respective
   the memory module 110 , during high speed operations, it ones of the respective set of n module data lines , or
   may take more than one clock cycle time of the system clock respective ones of the respective subsets of module data
   MCK for the module control signals to travel along the 55 lines, such as the first module data lines YA ,, YA1, ... , YA ,
   module control signals lines 230 from the module control and the second module data lines YB ., YB1, ... , YB . Each
   device 116 to the farthest positioned isolation devices 118 ,       isolation device 118 further includes an ID control circuit
   such as isolation device ID - 1 and isolation device ID- (n - 1 )   310 coupled on one side to the at least one DQS signal line
   in the exemplary configuration shown in FIG . 2. In other 324 , on another side to the one or more module strobe signal
   words, a same set of module control signals may reach 60 lines YDOS, or the first module strobe signalline YApps and
   different isolation devices 118 at different times across more second module strobe signal line YB Dos. The ID control
   than one clock cycle of the system clock . For example, when circuit 310 also receives the module clock signal CK and the
   the clock frequency of the system clock is higher than 800 module control signals via the module control signal lines
   MHz , the clock cycle time is less than about 1.2 ns . With a 230 , and outputs ID control signals 330 to the DQ routing
   signal travel speed of about 70 ps per centimeter of signal 65 circuits 320 , including, for example , one or more enable
   line , a module control signal would travel about 15 cm signals ENA and /or ENB , and some or all of the other
   during one clock cycle . When the clock frequency increases received , decoded , and / or otherwise processed module con
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   trol signals, a delay signal DS , a read DQS signal RDQS , a        device ID - 1 via module data lines YA - 14,        YA - 1, and
   write DQS signal WDQS , and a buffer clock signal CKO . module strobe line YA - 1 DQS - 2, and so on .
   Each DQ routing circuit 320 is configured to enable data        FIG . 6 illustrates the ID control circuit 310 in an isolation
   communication between the respective DQ signal line 322 device 118. As shown , the ID control circuit 310 includes a
   with a selected subgroup of one or more memory devices in 5 clock buffer 610 to receive the module clock signal CK from
   response to the module control signals, as explained in more the module control device 116 , and to output a module clock
                                                                signal CKO . The ID control circuit 310 further includes a
   detail below .
      In certain embodiments, the ID control circuit 310 also          strobe routing circuit 620 that are coupled on one side to the
   provides a delay signal DS , which is used by the DQ routing        corresponding system DQS signal line 324 and on another
   circuits 320 to align read data output by the isolation device 10 side to DOS
                                                                     and YB  ,the corresponding module DQS signal lines YADOS
                                                                                  : The ID control circuit 310 further includes a
   118 with read data output by the other isolation devices 118 ,
   as explained in further detail below . In certain embodiments, receiver
                                                                  the
                                                                           circuit 630 with respect to each of at least some of
                                                                      module   control signals ( MCS ) to receive a respective
   the ID control circuit 310 regenerates a clock signal from the one of the module
   module clock signal CK , which can have a programmable 15 further includes acontrol       signals. The ID control circuit 310
   delay from the module clock signal . The regenerated clock provides the received , decoded ,processing
                                                                                       command                  circuit 640 that
                                                                                                    and / or otherwise processed
   signal is used as the clock signal CK0 and a clock signal module control signals 330 to the DQ routing circuits 320
   CKM that is provided to the corresponding set of memory and the strobe routing circuit 620 either directly or after
   devices, as explained in more detail below.                    further processing, if needed . The received /decoded /pro
     The memory devices 112 are coupled to the isolation 20 cessed module control signals may include, for example , one
   devices 118 via a same set of module data / strobe signal lines or more enable signals ENA and / or ENB that are used by the
   or different subsets of module data / strobe signal lines . For DQ routing circuits 320 and the strobe routing circuit 620 to
   example , as shown in FIG . 4A , memory devices M11 , M129 selectively enabling data communication between the MCH
   M13 , and M14 in the first group of memory devices can be 101 and one of the subgroups in the respective group of
   coupled to the isolation device ID - 1 via a same set of module 25 memory devices , with which the isolation device is associ
   data lines Y - 1 ., Y - 11, .      Y - 1n -1 and module strobe line ated .
    Y -1 pgs. In such embodiment, a subgroup in the group of                 The strobe routing circuit 620 also buffers strobe signals
   memory devices can be selected by the isolation devices to received from either the MCH 101 or the memory devices
   communicated data with the MCH based on the phases of 112 , and output either a write strobe WDQS or read strobe
   the data / strobe signals , which can be different with respect 30 RDQS to the DQ routing circuits 320. In one embodiment,
   to different subgroups of memory devices .                             the ID control circuit 310 further includes a delay control
       Alternatively, as shown in FIG . 4B , memory devices M11 circuit 650 that receives one of the module control signals
   and M13 , which form a subgroup in the first group of and either a data signal or a strobe signal and determines a
   memory devices, are coupled to the isolation device ID - 1 via delay amount to be used by the DQ routing circuit 320 and
   the module data lines YA      - 1, YA -11, ... , YA - 1n and module 35 the strobe routing circuit 620. The delay amount is provided
   strobe line YA -1DQs and memory devices M12 and M149 to the DQ routing circuit 320 and the strobe routing circuit
   which form another subgroup in the first group of memory in a delay signal DS .
   devices, are coupled to the isolation device ID - 1 via the               In a receiver circuit 630 , the respective MCS is received
   module data lines YB - 10 , YB - 11 , ... , YB - 1, and module in accordance with the module clock signal CKO . In one
   strobe line YB - 1Dos . Memory devices coupled to the same 40 embodiment, receiver circuit 630 samples the respective
   isolation devices can be disposed on a same side or different MCS using rising ( or falling) edges of the module clock
   sides of the memory board 119. Memory devices coupled to CKO . Since the isolation devices 118 are distributed across
   the same isolation devices may be placed side by side , on the memory module 110 at positions corresponding to the
   opposite sides of the module boards 119 , or stacked over respective groups of memory devices , the module control
   each other, and / or over the associated isolation device. 45 signal lines 230 that carry the MCS to the isolation devices
       Multiple memory devices having a data width that is less can stretch over a distance of more than 10 centimeters, as
   than a data width of the isolation devices 118 may be used shown in FIG . 7. As the MCS and CKO travel along their
   in place of one of the memory devices 112 , which has the           respective module control signal lines 710 and 720 , they can
   same data width as that of the isolation devices . For              become misaligned with each other when they reach the
   example, as shown in FIG . 5A , two memory devices M11-1 50 input pins 730 of an isolation device 118 .
   and M11-2 may be used in place of the memory device M11 :            For example, a module control signal, like the MCS 810
   Each of the two memory devices M11-1 and M11-2 has a data shown in FIG . 8 , can be perfectly aligned with the module
   width of 4 , and together they act like a memory device M11 clock signal CK , with a rising edge 801 of the module clock
   of a data width of 8. Thus, memory device M11-1 is coupled signal CK being at a center of a data eye 802 , when the MCS
   to the isolation device ID - 1 via module data lines 55 signal and the clock signal leave the module control circuit
   YA-10 YA - 12 and module strobe line YA - 1DOS - 1 while 116. When the module control signal and the module clock
   memory circuit M11-2 is coupled to the isolation device ID - 1 signal reach an isolation device, however, their alignment
   via module data lines YA - 14, ... , YA - 1 , and module strobe can become shifted like the MCS 820 with respect to the CK
   line YA - 1 pos- 22                                                signal, i.e. , the rising edge 801 of the clock signal is near a
      In another embodiment, as shown in FIG . 5B , four 60 left edge of a data eye of the MCS 820 , barely providing
   memory devices M11-1 to M11-4 may be used as the memory enough set up time for proper sampling of the module
   device M11 . Each of the four memory devices M11-1 to M11-4 control signal . Or, the module control signal , like the MCS
   has a data width of 4 , and together they act like a memory 830 , can be shifted with respect to the module clock signal
   device Mji of a data width of 16. Thus , memory device such that a rising edge 801 of the clock signal is near a right
   M11-1 is coupled to the isolation device ID - 1 via module data 65 edge of a data eye of the MCS , barely providing enough hold
   lines YA - 10, ... , YA -13 and module strobe line YA -1dQs-1 time for proper sampling of the module control signal. Or,
   while memory device M11-2 is coupled to the isolation ever worse , the module control signal, like the MCS 840 ,
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   can be so shifted with respect to the module clock signal         so Z1 is false while B and C can be in agreement so Z2 is
   such that a rising edge 801 of the clock signal falls in the      true. Not shown in the figures is the situation that all A , B ,
   glitches 803 at the edge of a data eye of the MCS , meaning and C are in agreement, meaning that both the rising clock
   that the sampled results could be metastable .                   edge 1061 of CK0 and the rising clock edge 1062 of CK1 are
      In one embodiment, as shown in FIG . 9 , a receiver circuit 5 near the middle of an MCSO data eye so there is no
   630 includes a metastability detection circuit ( MDC ) 910 to
   determine a metastability condition in a corresponding mod metastability
                                                                    in Table 1 .
                                                                                    issues and both Z1 and Z2 are true, as shown
   ule control signal MCSO . In one embodiment, the MDC 910
   generates at least one delayed version of the module clock ingFIG    to
                                                                           . 10D illustrates a signal selection circuit 920 accord
                                                                            an embodiment. As shown , in one embodiment, the
   signal CK and at least one delayed version of the corre- 10 signal selection       circuit 920 includes a first multiplexor 1071
   sponding MCSO . The MDC9IQalso generates one ormore that selects between                 CKO and CK1 based on the metasta
   metastability indicators and outputs the one or more meta bility indicator Z1 , and           a second multiplexor 1072 that
   stability indicators via lines 912 and /or 914 .                 selects between MCSO and MCS1 based on the metastability
      The receiver circuit 630 further includes a signal selection indicator   Z2 . Thus, as shown in Table 1 , where a metasta
   circuit 920 that receives the module clock CK and the at 15
   least one delayed version of the module clock via signal bility condition of insufficient hold time occurs , Z1 = 1 and
   lines 916. The signal selection circuit 920 also receives the Z2 =0 , and MCS1 is output from multiplexor 1071 while
   corresponding MCS and the at least one delayed version of CKO is output from multiplexor 1072. Sampler 930 thus
   the corresponding MCS via signal lines 918. The signal samples MCS1 according to the rising edges of CK0 . Thus,
   selection circuit 920 selects a clock signal CK, from among 20 more  hold time is provided to mitigate the metastability
                                                                  condition since MCS1 is shifted from MCSO toward the
   the module clock CK and the at least one delayed version of       right.
   the module clock based on one or more of the metastability
   indicators . The signal selection circuit 920 may also select        On the other hand, where a metastability condition of
   an MCS signal MCS , from among the corresponding MCS              insufficient set - up time occurs , Z1 =0 and Z2 = 1 , and CK1 is
   and the at least one delayed version of the corresponding 25 output from multiplexor 1071 while MCSO is output from
   MCS based on at least one other metastability indicator.          multiplexor 1072. Sampler 930 thus samples MCSO accord
    The receiver circuit 630 further includes a sampler or           ing to the rising edges of CK1 . Since CK1 is shifted from
   register circuit 930 that samples the selected module control     CKO toward the right, more set - up time is provided to
   signal MCS , according to the selected clock signal CK , and      mitigate the metastability condition.
   outputs the sampled signal as the received module control 30
   signal, which is provided to the command processing circuit                                          TABLE 1
   640 for further processing (if needed ) before being provided                      Metastability Detection and Signal Selection
   to the DQ routing circuits 320 and DQS routing circuit 620 .
      FIG . 10A illustrates an MDC 910 according to one                     Sampler            MS                                         Signal
   embodiment. As shown , the MDC 910 includes a delay 35                   Output          Indicators                                Selection
   circuit 1012 that generates a delayed version MCS1 of the           A      B       ?     Z1     Z2    MS Condition                ??       MCS
   corresponding MCSO by adding a predetermined amount of
   delay (e.g. , lops ) to MCSO . MDC 910 also includes a delay        D1     D1      D2     1      0    insufficient hold time      ???     MCS1
   circuit 1016 that generates a delayed version CK1 of the            D1
                                                                       D1
                                                                              D2
                                                                              D1
                                                                                      D2
                                                                                      D1
                                                                                             0
                                                                                             1
                                                                                                    1
                                                                                                    1
                                                                                                         insufficient set- up time
                                                                                                         no metastability
                                                                                                                                     CK1
                                                                                                                                     ???
                                                                                                                                             MCSO
                                                                                                                                             MCSO
   clock signal CKO by adding a predetermined amount of 40
   delay to CKO . In one embodiment, CK1 is delayed from
   CKO by about 1 / 10th of a clock cycle , e.g. , 50-70 ps for an    In the case when no metastability is detected, Z1 = 1 and
   operating frequency of about 16OMHz. The MDC 910 Z2 = 1 , and CKO is output from multiplexor 1071 while
   further includes a sampler circuit 1042 that samples MCS1 MCSO is output from multiplexor 1072. So , the unshifted
   according to CK0 and outputs a sampled result A , a sampler 45 module control signal is sampled according to the unshifted
   circuit 1044 that samples MCSO according to CKO and module clock signal.
   outputs a sampled result B , and a sampler circuit 1046 that       FIGS . 10A - 10D illustrate a relatively simple implemen
   Samples MCS @ according to Cland qutputs a sampled tation of the metastability detection circuit ( MDC ) 910
   result C. The MDC 910 further includes a logic circuit ( e.g. , where only three different sample points are provided to
   a majority decision circuit) that generates metastability 50 detect metastability condition in the module control signal .
   indicators Z1 and Z2 based on the sampled results A , B , and In general, the MDC 910 may generate more delayed
   C.                                                               versions of the module clock signal CK0 and / or the corre
      In one embodiment, Z1 is the result of a logic operation sponding module control signal MCSO , and may include
   ( e.gan XNÖRoperation on the sampled result , e.g. , ZI = more sampler circuits to sample any additional delayed
   AOB, and Z2 is the result of another logic operation on the 55 versions of the module control signal according to either the
   Sampled results , eg , ZQ BOC . Thus, as shownin FIG.IO          module clock signal or one of the delayed versions of the
   and Table 1 below , when a metastability condition of insuf- module clock signal. For example, as shown in FIG . 11A ,
   ficient hold time occurs , i.e. , a rising clock edge 1061 of the MDC 910 can include a plurality of delay circuits 1102
   CKO is close to the right side of a data eye where glitches at that generate m delayed versions of MCSO , e.g. , MCS1 ,
   the edges of the data eyes can make C unpredictable, A and 60 MCS2 , MCSm , and m delayed versions of CKO , e.g. ,
   B can be in agreement ( i.e. , Z1 is true) while B and C are CK1 , CK2 , ... , CKm . The MDC 910 can include sampler
   likely not in agreement (i.e. , Z2 is false ). FIG . 10 C circuits 1104 that sample MCSO according to CKO,
   illustrates a metastability condition when there is insufficient CK1 , ... , CKm , respectively, and sampler circuits 1104 that
   set -up time . As shown in FIG IQC and Table I belowa sample MCSO , MCS1 , MCS2 , ... MCSm according to CKO ,
   rising clock edge 1061 of CK0 is close to the left side of a 65 respectively. The outputs of the samplers 1104 are provided
   data eye where glitches at the edges of the data eyes can to a logic circuit 1120 , which determines a metastability
   make A unpredictable. Thus, A and B can be in disagreement condition in MCKO based on the sampler outputs using , for
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   example, a majority decision logic . The logic circuit 1120 t3 and t1 , i.e. , the command - to - enable delay CED , in certain
   outputs a first metastability indicator on line ( s ) 912 and a embodiments , the isolation device can add a proper amount
   second metastability indicator on line ( s ) 914 .                of delay to the read data signals and the one or more DQS
      FIG . 11B illustrates a signal selection circuit 920 accord- signal such that the read data signals and the one or more
   ing to an embodiment. As shown, in one embodiment, the 5 DQS signal are transmitted at time t9 by the isolation device
   signal selection circuit 920 includes a first multiplexor 1171 to the MCH 101 via the respective group of data / strobe
   that selects between CKO , CK1 , .           CKm based on the signal lines 130 , with the time interval between t9 and t5
   metastability indicator provided on line ( s) 912 , and a second being consistent with a read latency R.L. associated with the
   multiplexor 1172 that selects between MCSO , MCS1 ,               system 100.
   MCSm based on the metastability indicator provided on 10 The time interval between t4 and t3 , i.e. , the enable to
   line ( s ) 914 , such that the rising edges of the selected clock write data delay EWD , is determined by the delay control
   signal, e.g. , Cki, are close to the middle of the respective circuit 650 in the ID control circuit 310 , as shown in FIG . 6 .
   data eyes in the selected module control signal , e.g. , MCSi . According to one embodiment, as shown in FIG . 13 , the
   The selected signals MCSi and Cki are provided to the delay control circuit 650 includes a preamble detector 1310
   sampler 930 , which samples MCSi according to the rising 15 to detect a write preamble in the DQS , a flip - flop circuit
   edges of CKi .                                                    1320 having an enable input EN receiving one of the module
      As stated above, in certain embodiments , since the iso- control signals and a clock input CK receiving the buffered
   lation devices 118 are in the data paths between the MCH module clock signal CKO , and a counter circuit 1330 having
   101 and the respective groups of memory devices 112 , the a Start input receiving the one of the module control signals,
   MCH 101 does not have direct control of the memory 20 a Stop input receiving an output of the flip - flop circuit 1320 .
   devices 112. Thus , conventional read /write leveling tech- Thus, the output of the counter circuit, i.e. , the delay signal
   niques are not sufficient for managing read /write data tim- DS , would indicate a time interval from when the write
   ing . In one embodiment, the isolation devices 118 includes preamble is detected and when the one of the module control
   signal alignment mechanism to time the transmission of read signal is received.
   data signals based on timing information derived from a 25 FIG . 14 illustrates a DQ or DQS routing circuit 320 or 620
   prior write operation , as discussed further below .              according to an embodiment. As shown , the DQ/ DQS rout
      FIG . 12A is a timing diagram for a write operation ing circuit 320/620 includes a DQ/ DQS pin 1401 that is
   according to one embodiment . As shown , after a write coupled to the corresponding DQ /DQS signal line 322/324 ,
   command W/C associated with the write operation is a set of one or more DQS pins 1402 that is coupled to a
   received by the module control circuit 116 at time t1 , the 30 corresponding module DQ/DQS line ( s ) Y / Y ,DOS or
   module control circuit 116 outputs one or more enable YA / YApos and YB /YB DOS. The DQ /DQS routing circuit
   signals EN at time t2 in response to the write commands. 320/620 further includes a write strobe buffer 1410 that
   The one or more enable signals are received by an isolation buffers write data / strobe, and a write data / strobe receiver
   device 118 at time t3 , which afterwards receives one or more 1420 that samples the write data / strobe . The DQ/DQS
   strobe signal DQS from the MCH 101 at time t4 . Note that 35 routing circuit 320/620 further includes a plurality of write
   the same enable signal may be received by another isolation paths 1430 that are selectable or can be selectively enabled
   device 118 at time t3 ' , which can be in a different cycle of by one or more of the module control signals, such as the
   the system clock MCK from the cycle which t3 is in . The enable signals ENA and ENB .
   time interval between t4 and tl is consistent with a write          The DQS routing circuit further includes a plurality of
   latency W.L. associated with the system 100 , and is con- 40 read paths 1450 that are selectable by the one or more of the
   trollable by the MCH 101 and knowable to the isolation module control signals . Output from the selected read path
   device 118. The time interval between t4 and t3 , referred to is delayed in a delay circuit 1460 by an amount controlled
   hereafter as an enable - to -write data delay EWD , can be by the delay signal DS , and sampled by a sampler circuit
   determined by the isolation device 118 since both these 1470. The sampled read data / strobe is transmitted by trans
   signals are received by the isolation device. Based on such 45 mitter 1480 onto the corresponding data / strobe signal line
   determination , the isolation device 118 can have knowledge 322/324 via the DQ/ DQS pin 1401 .
   of the time interval between t3 and t1 , referred to hereafter      FIG . 15 illustrates a DQS routing circuit 620 according to
   as a command -to - enable delay CED , which can be used by an embodiment. As shown, the DQS routing circuit 620
   the isolation device 118 to properly time transmission of includes a first DQS pin 1501 that is coupled to a corre
   read data to the MCH , as explained further below.             50 sponding DQS signal line 324 , a second DQS pin 1502A that
      FIG . 12B is a timing diagram for a read operation is coupled to a corresponding module DQS line YApos, a
   according to one embodiment. As shown , after a read third DQS pin 1502B that is coupled to a corresponding
   command R / C associated with the read operation is received module DQS line YBp?s. The DQS routing circuit 620
   by the module control circuit 116 at time t5 , the module further includes a first write strobe path coupled between the
   control circuit 116 outputs one or more enable signals EN at 55 first DQS pin 1501 and the second DQS pin 1502A and a
   time to in response to the read commands. The one or more second write strobe path coupled between the first DQS pin
   enable signals are received by an isolation device 118 at time 1501 and the third DQS pin 1502B . The first write strobe
   t7 , which afterwards receives at time t8 read data signals path includes a write strobe buffer 1510 that buffers a write
   ( not shown) and one or more strobe signal DQS from the strobe, a write strobe receiver 1520 that samples the write
   respective  group of memory devices. Note that the same 60 strobe according to the buffered module signal CKO . The
   enable signal may be received by another isolation device sampled write strobe is provided to the DQ routing circuits
   118 at time t3 ' , which can be in a different cycle of the 320 as the write strobe WDQS . The first write strobe path
   system clock MCK from the cycle which t3 is in . Thus, the     further includes a first write strobe transmitter 1530A that
   enable signals alone cannot be used to time the transmission transmits the write strobe to one or more memory devices
   of the read signals by the isolation devices 118 .          65 112 coupled to the module strobe line YADOS. The second
     With knowledge of the time interval between t7 and t5 , write strobe path includes the write strobe buffer 1510 , the
   which should be about the same as the time interval between       write strobe receiver 1520 , and a second write strobe trans
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   mitter 1530B that transmits the write strobe to one or more       selects from among the read data or read strobe signal and
   memory devices 112 coupled to the module strobe line the outputs from the delay stages according to the delay
   YBpos : The first and second write strobe transmitters ,       signal DS . The output of the select circuit 1740 , is provided
   15304 and 1530B , are controlled by two enable signals , to the sampler circuit 1570 or 1670 , either directly or after
   ENA and ENB , respectively, such that the first write strobe 5 being buffered by a buffer circuit 1750 .
   path and the second write strobe path can be selectively          Thus, as shown in FIG . 18 , in one embodiment, a memory
   enabled /disabled by the enable signals , ENA and ENB .        module 110 operates in the memory system 100 according to
      The DQS routing circuit further includes a read strobe a method 1800. In the method, during a write operation, one
   path coupled between the first DQS pin 1501 and a selected or more module control signals are received by an isolation
   one of the second and third DQS pins 1502A and 1502B . In 10 device 118 from a module control circuit or module con
   the read strobe path, a select circuit 1550 (e.g. , a multi- troller 116 ( 1810 ) . The module controller 116 generates the
   plexor) selects either a read strobe signal received via DQS one or more module control signals in response to C / A
   pin 1502A or a read strobe signal received via DQS pin signals representing a write command from the MCH 101 .
   1502B based on one or both of the enable signals ENA or The one or more module control signals are used to control
   ENB . The selected read strobe signal is delayed in a delay 15 the isolation device 118. For example , the one or more
   circuit 1560 by an amount controlled by the delay signal DS , module control signals may include one or more first enable
   and sampled by a sampler circuit 1570 according to the signals to enable a write path to allow write data be
   buffered module clock signal CKO . The sampled read strobe communicated to a selected subgroup of memory devices
   is provided to the DQ routing circuits 320 as the read strobe among the group ofmemory devices coupled to the isolation
   RDQS and is transmitted by transmitter 1580 onto the 20 device 118. After a time interval from receiving the one or
   corresponding strobe signal line 324 via the first DQS pin more first enable signals , write data DQ and write strobe
   1501 .                                                       DQS are received by the isolation device 118 from the MCH
     FIG . 16 illustrates a DQ routing circuit 320 according to 101 ( 1820 ) . In one embodiment, upon receiving the one or
   an embodiment. As shown , the DQ routing circuit 320 more first enable signal , a counter is started , which is
   includes a first DQ pin 1601 that is coupled to a correspond- 25 stopped when the write data DQ or write strobe DQS is
   ing DQ signal line 130 , a second DQ pin 1602A that is received . Thus, a time interval EWD between receiving the
   coupled to a corresponding module DQ line YADQ, a third one or more first enable signals and receiving the write
   DQ pin 1602B that is coupled to a corresponding module strobe signal DQS is recorded .
   DQ line YBDO The DQ routing circuit 320 further includes           Since the time interval between the arrival of the com
   a first write data path coupled between the first DQ pin 1601 30 mand signals from the MCH 101 and the arrival of the write
   and the second DQ pin 1602A and a second write data path          data / strobe signal DQ/DQS from the MCH 101 is a set
   coupled between the first DQ pin 1601 and the third DQ pin        according to a write latency parameter associated with the
   1602B . The first write data path includes a write data buffer    system 100 , the time interval EWD can be used to ascertain
   1610 , a write data receiver 1620 that samples write data         a time interval CED between the time when a command
   according to the write strobe WDQS from the DQS routing 35 signal is received by the memory module 110 and the time
   circuit 620 , and a first write data transmitter 1630A that       when the one or more enable signals are received by the
   transmits the write data to one or more memory devices 112        isolation device 118. The time interval CED can be used by
   coupled to the module data line YADQ. The second write the isolation device 118 to properly time the transmission of
   data path includes the write data buffer 1610 , the write data read data to the MCH 101 , as described above and explained
   receiver 1620 , and a second write data transmitter 1630B 40 further below.
   that transmits the write data to one or more memory devices          As shown in FIG . 18 , a delay signal DS is generated
   112 coupled to the module data line YBDg . The first and according to the time interval EWD ( 1830 ) . Concurrent to
   second write data transmitters , 1530A and 1530B , are con- receiving the write strobe signal DQS , the isolation device
   trolled by two enable signals, ENA and ENB , respectively. 118 also receives a set of write data signals DQ ( 1840 ) . The
   Thus, the first write data path and the second write data path 45 received write data signals are transmitted to the subgroup of
   can be selectively enabled /disabled by the enable signals, memory devices ( 1850 ) , which are selected from the group
   ENA and ENB .                                                 of memory devices coupled to the isolation device 118 by
      The DQ routing circuit further includes a read data path the one or more first enable signals .
   coupled between the first DQ pin 1601 and a selected one of     During a read operation, another set of module control
   the second and third DQ pins 1602A and 1602B . In the read 50 signals including , for example, one or more second enable
   data path , a select circuit 1650 ( e.g. , a multiplexor) selects signals, are received by the isolation device 118 from the
   either a read data signal received via DQ pin 1602A or a read module controller 116 ( 1860 ) . The one or more second
   data signal received via DQ pin 1602B based on one or both enable signals are generated by the module controller 116 in
   of the enable signals ENA or ENB . The selected read data response to read command signals received from the MCH
   signal is delayed in a delay circuit 1660 by an amount 55 101 , and are used by the isolation device 118 to select a
   controlled by the delay signal DS . The delayed read data subgroup of memory devices from which to receive read
   signal is then sampled by a receiver circuit 1670 according data . Afterwards, a read strobe signal DQS and a set of read
   to the read strobe RDQS from the DQS routing circuit 620 , data signal DQ are received from the selected subgroup of
   and transmitted by transmitter 1680 onto the corresponding memory devices ( 1870 ) . To properly time the transmission
   data signal line 130 via the first DQ pin 1601 .                 60 of the DQS and DQ signals to the MCH 101 , the DQS and
      FIG . 17 illustrate a delay circuit 1560 or 1660 according DQ signals are adjusted ( e.g. , delayed ) according to the
   to an embodiment. As shown , the delay circuit 1560 or 1660 delay signal DS , such that the DQS and DQ signals follow
   includes a plurality of delay stages , such as delay stages a read command by a time interval consistent with a read
   1710 , 1720 , and 1730 , each delaying a read data or read latency parameter associated with the system 100 .
   strobe signal from the select circuit 1550/1650 by a prede- 65 In certain embodiments, especially the embodiments
   termined amount. The delay circuit 1560 or 1660 further shown in FIG . 2D , the delay circuits 1560 and 1660 shown
   includes a select circuit 1740 (e.g. , a multiplexor) that in FIGS . 15 and 16 are not needed to provide alignment of
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   the read data . As shown in FIG . 19 , the ID control circuit 310     wherein the second predetermined amount is determined
   includes a clock regeneration circuit 1920 that regenerates              based at least on signals received by the second data
   the clock signal CK received from the control circuit 116 ,              buffer during one or more previous operations.
   according to the delay signal DS . The regenerated clock              3. The memory module of claim 2 , wherein a third
   signals CKO and CKM each includes a proper amount of 5 memory device in the selected rank is configurable to output
   delay as compared to the clock signal CK . The clock CKO a third section of the read data and a third read strobe,
   is provided to the strobe routing circuit 620 so that the strobe wherein     each of the first section , the second section, and the
   signals are properly timed to result in proper data alignment. third section of the read data is 4 - bit wide , and wherein the
   The regenerated clock signal CKM is provided to the first isdatafurther      buffer is further coupled to the third memory device
   respective set of memory devices so that the respective data 10 andof  the module
                                                                                     configurable to , in response to the one or more
                                                                                      control signals:
   buffer 118 and the respective set of memory devices are               delay the third read strobe by a third predetermined
   locally synchronized .                                                   amount to generate a third delayed read strobe ;
                                                                         sample the third section of the read data using the third
      We claim :                                                   15       delayed read strobe concurrently with sampling the first
      1. A memory module operable in a computer system to                   section of the read data using the first delayed read
   communicate with a memory controller of the computer                     strobe; and
   system via a memory bus including control and address                      transmit the third section of the read data to a third section
   ( C / A ) signal lines and a data bus , the memory module                    of the data bus concurrently with transmitting the first
   comprising:                                                    20            section of the read data to the first section of the data
       a module board having edge connections to be coupled to                  bus ;
           respective signal lines in the memory bus ;                        wherein the third predetermined amount is determined
       a module control device on the module board configurable                 based at least on signals received by the first data buffer
           to receive input CIA signals corresponding to a memory               during one or more previous operations.
       read operation via the CIA signal lines and to output 25 4. The memory module of claim 2 , wherein the signals
       registered C / A signals in response to the input C / A received by the first data buffer during one or more previous
       signals and to output module control signals ;               operations include at least a strobe signal associated with a
     memory devices arranged in multiple ranks on the module previous operation , and wherein the signals received by the
       board and coupled to the module control device via second data buffer during one or more previous operations
       module C / A signal lines that conduct the registered CIA 30 include at least another strobe signal associated with the
       signals, wherein the registered C / A signals cause a previous operation.
        selected rank of the multiple ranks to perform the                    5. The memory module claim 2 , wherein each of the first
        memory read operation by outputting read data and                   section and the second section of the read data is 4 -bit wide,
        read strobes associated with the memory read opera-                 and wherein the at least one respective memory device in
         tion , and wherein a first memory device in the selected 35 each of the multiple ranks includes one memory device
         rank is configurable to output at least a first section of having a bit width of 8 or two memory devices each having
         the read data and at least a first read strobe; and            a bit width of 4 .
      data buffers on the module board and coupled between the             6. The memory module of claim 1 , wherein the signals
         edge connections and the memory devices, wherein a received by the first data buffer during one or more previous
         respective data buffer of the data buffers is coupled to 40 operations include at least a strobe signal associated with a
         at least one respective memory device in each of the previous operation.
         multiple ranks and is configurable to receive the mod-            7. The memory module of claim 1 , wherein the module
         ule control signals from the module control device, and control device is further configurable to receive a system
         wherein a first data buffer of the data buffers is coupled clock signal and output a module clock signal, and wherein
         to the first memory device and is configurable to , in 45 the first data buffer is further configurable to :
         response to one or more of the module control signals :           receive the module clock signal ;
         delay the first read strobe by a first predetermined              generate a local clock signal having a programmable
            amount to generate a first delayed read strobe;                   phase relationship with the module clock signal; and
         sample the first section of the read data using the first         output the local clock signal ;
            delayed read strobe; and                                 50    wherein the first memory device is configurable to receive
         transmit the first section of the read data to a first               the local clock signal and to output the first section of
            section of the data bus ;                                         the read data and first read strobe in accordance with
      wherein the first predetermined amount is determined                    the local clock signal.
         based at least on signals received by the first data buffer       8. The memory module of claim 1 , wherein the module
         during one or more previous operations.                     55 control device is further configurable to receive a system
      2. The memory module of claim 1 , wherein a second clock signal and output a module clock signal together with
   memory device in the selected rank is configurable to output the module control signals to the data buffers , and wherein
   at least a second section of the read data and at least a second     the first data buffer further includes receiver circuits corre
   read strobe, and wherein the data buffers further include a sponding to respective ones of the module control signals, a
   second data buffer configurable to , in response to the one or 60 respective receiver circuit for a respective module control
   more of the module control signals :                                 signal including a metastability detection circuit configu
     delay the second read strobe by a second predetermined                 rable to generate one or more metastability indicators indi
       amount to generate a second delayed read strobe;                     cating a metastability condition in the respective module
     sample the second section of the read data using the                   control signals with respect to the module clock signal.
        second delayed read strobe; and                                65      9. The memory module of claim 8 , wherein the metasta
     transmit the second section of the read data to a second               bility detection circuit is further configurable to generate at
        section of the data bus ;                                           least one delayed version of the module clock signal, and at
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   least one delayed version of the respective module control            receiving , at each of the data buffers, the module control
   signal, and wherein the respective receiver circuit further              signals from the module control device;
   includes a signal selection circuit configurable to receive the       the method further comprising, at the first data buffer, in
   module clock signal and the at least one delayed version of             response to one of more of the module control signals:
   the module clock signal, and to select a clock signal from 5             delaying the first read strobe by a first predetermined
   among the module clock signal and the at least one delayed                 amount to generate a first delayed read strobe;
   version of the module clock signal based on at least a first            sampling the first section of the read data using the first
   metastability indicator of the one or more metastability                  delayed read strobe; and
   indicators .                                                            transmitting the first section of the read data to a first
      10. The memory module of claim 9 , wherein the signal 10                 section of the data bus ; and
   selection circuit is further configurable to receive the respec-      the method further comprising, before receiving the input
   tive module control signal and the at least one delayed                  C / A signals corresponding to the memory read opera
   version of the respective module control signal, and to select           tion at the module control device , determining the first
   a module control signal from among the respective module 15              predetermined amount based at least on signals
   control signal and the at least one delayed version of the               received by the first data buffer.
   respective module control signal based at least on a second           15. The method of claim 14 , wherein the data buffers
   metastability indicator of the one or more metastability           further include a second data buffer, and wherein a second
   indicators ; and wherein the respective receiver circuit fur-      memory device in the selected rank is coupled to the second
   ther includes a sampler that samples a selected module 20 data buffer and is configurable to output at least a second
   control signal according to a selected module clock signal section of the read data and at least a second read strobe, the
   and outputs received respective module control signal.       method further comprising, at the second data buffer, in
      11. The memory module of claim 1 , wherein the first data response to the on or more of the module control signals:
   buffer includes circuitry that determines the first predeter-         delaying the second read strobe by a second predeter
   mined amount based at least on the signals received by the 25           mined amount to generate a second delayed read
   first data buffer during one or more previous operations.               strobe;
     12. The memory module of claim 1 , wherein the first               sampling the second section of the read data using the
   section of the read data is 4 -bit wide , and wherein the at least      second delayed read strobe; and
   one respective memory device in each of the multiple ranks           transmitting   the second section of the read data to a
   includes one memory device having a bit width of 8 or two 30            second   section of the data bus ;
   memory devices each having a bit width of 4 .                        wherein   the second  predetermined amount is determined
      13. The memory module of claim 1 , wherein the memory                based on signals received by the second data buffer
   devices are selected from the group consisting of dynamic               during one or more previous operations.
   random - access memory, synchronous dynamic random -ac
   cess memory , and double - data -rate dynamic random -access 35 16. The method of claim 15 , wherein a third memory
   memory .                                                           device in the selected rank is coupled to the first data buffer
      14. A method , comprising :                                     and is configurable to output a third section of the read data
      at a memory module in a computer system and operable and a third read strobe, the method further comprising, at the
         to communicate data with a memory controller of the first data buffer, in response to the one or more of the module
         computer system via a memory bus including control 40 control signals:
         and address (C/A) signal lines and a data bus , the            delaying the third read strobe by a third predetermined
         memory module including a module board having edge                amount to generate a third delayed read strobe;
         connections to be coupled to respective signal lines in        sampling the third section of the read data using the third
         the memory bus , a module control device on the                   delayed read strobe concurrently with receiving the first
         module board , memory devices arranged in multiple 45             section of the read data using the first delayed read
        ranks on the module board and coupled to the module                 strobe; and
        control device, and data buffers on the module board             transmitting the third section of the read data to a third
        and coupled between the edge connections and the                   section of the data bus concurrently with transmitting
        memory devices, the data buffers including a first data            the first section of the read data to the first section of the
       buffer, wherein each respective data buffer is coupled to 50        data bus ;
       one respective memory device having a bit width of 8             wherein the third predetermined amount is determined
       or two respective memory devices each having a bit                  based on the signals received by the first data buffer
       width of 4 in each of the multiple ranks;                           during one or more previous operations.
     receiving, at the module control device, input C / A signals       17. The method of claim 15 , wherein the signals received
       corresponding to a memory read operation via the CIA 55 by the first data buffer during one or more previous opera
       signal lines ;                                                tions include at least a strobe signal associated with a
     outputting, at the module control device, registered C / A previous operation , and the signals received by the second
       signals in response to the input C / A signals, wherein the data buffer during one or more previous operations include
       registered CIA signals cause selected rank of the at least another strobe signal associated with the previous
       multiple ranks to perform the memory read operation 60 operation .
       by outputting read data and read strobes associated with         18. The method of claim 14 , further comprising:
       the memory read operation, and wherein a first memory            receiving , at the module control device , a system clock
       device in the selected rank is coupled to the first data            signal concurrently with receiving the input C / A sig
       buffer and is configurable to output at least a first              nals;
        section of the read data and at least a first read strobe; 65 outputting, at the module control device, a module clock
     outputting, at the module control device, module control              signal concurrently with outputting the module control
        signals;                                                           signal;
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     receiving, at the first data buffer, the module clock signal ;          a respective module control signal of the module con
     generating, at the first data buffer, a local clock signal              trol signals with respect to the module clock signal.
        having a programmable phase relationship with the                 20. The method of claim 19 , further comprising, at the
        module clock signal; and                                       first data buffer:
     outputting, at the first data buffer, the local clock signal ; 5 generating at least one delayed version of the module
     receiving, at the first memory device , the local clock                 clock signal, and at least one delayed version of the
       signal; and                                                           respective module control signal;
     outputting, at the first memory device , the first section of        selecting a clock signal from among the module clock
        the read data and first read strobe in accordance with               signal and the at least one delayed version of the
       the local clock signal.                                      10       module clock signal based on at least one of the
     19. The method of claim 14 , further comprising :                       metastability indicators ;
     receiving, at the module control device , a system clock             selecting  a module control signal from among the respec
       signal concurrently with receiving the input control and              tive module control signal and the at least one delayed
        address signal;                                                      version of the respective module control signal based at
     outputting, at the module control device, a module clock 15           least on another metastability indicator; and
       signal concurrently with outputting the module control           sampling the selected module control signal according to
        signal;                                                            the selected module clock signal to output received
     generating, at the first data buffer, one or more metasta             respective module control signal.
       bility indicators indicating a metastability condition in
